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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IRYNA ZHYRIADA,                         :      CIVIL ACTION

               vs.                      :      NO. 19-5703

HEALTHCARE REVENUE                      :
RECOVERY GROUP, LLC, et al.

                                      ORDER

             AND NOW, TO WIT: This 12th day of June, 2023,
it having been reported that the issues between the parties in the above action has been
settled and upon Order of the Court pursuant to the provisions of Rule 41.1(b) of the
Local Rules of Civil Procedure of this Court, it is

             ORDERED that the above action is DISMISSED with prejudice,
pursuant to agreement of counsel without costs.

                                            GEORGE WYLESOL, Clerk of Court


                                            BY: /s/ Katie Rolon
                                                Katie Rolon
                                                Civil Deputy Clerk

Copies Emailed on 6/12/23 to:
 Arkady Eric Rayz, Esq.
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Civ 2 (7/83)

41.1(b)
